            Case 23-793, Document 200, 06/13/2025, 3644736, Page1 of 1




MYRNA PÉREZ, Circuit Judge, joined by EUNICE C. LEE, BETH ROBINSON, and SARAH A. L.

MERRIAM, Circuit Judges, concurring in the denial of rehearing en banc:

       Defendant-Appellant appealed a civil judgment against him for sexual assault and

defamation, challenging several of the district court’s evidentiary rulings. For the reasons

discussed at length in its unanimous opinion, the panel, on which I sat, found no

reversible abuse of discretion. See Carroll v. Trump, 124 F.4th 140 (2d Cir. 2024) (per

curiam). The panel applied the now-axiomatic rule that, when reviewing evidentiary

determinations, “an appellate court must defer to the lower court’s sound judgment, so

long as its decision falls within its wide discretion and is not manifestly erroneous.”

United States v. Tsarnaev, 595 U.S. 302, 323 (2022) (citation and internal quotation marks

omitted).

       The dissenting opinion would have us stray far from our proper role as a court of

review. Without acknowledging the deferential standard we are duty-bound to apply,

the dissenting opinion offers several arguments, many of which were not raised by

Defendant to the panel or in his petition for rehearing.

       Simply re-litigating a case is not an appropriate use of the en banc procedure. In

those rare instances in which a case warrants our collective consideration, it is almost

always because it involves a question of exceptional importance or a conflict between the

panel’s opinion and appellate precedent. Fed. R. App. P. 40(b)(2), (c). The dissenting

opinion ignores this rule of restraint. It points to no exceptionally important issues, no

cases that actually conflict with the panel’s decision, and no persuasive justification for

review of this case by the full Court.

       Because there was no manifest error by the district court, and because the standard

for en banc review has not been met, I concur in the denial of rehearing en banc.
